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 Attorney for Defendant
 JARRIN YOUNG


          IN THE DISTRICT COURT FOR THE DISTRICT OF HAWAII




    UNITED STATES OF AMERICA,          )    CR. NO. 19-00099 DKW-KJM
                                       )
                     Plaintiff,        )
          VS.                          )
                                       )
    JARRIN YOUNG, (11)                 )    DEFENDANT JARRIN YOUNG’S
                                       )    OBJECTION TO DEFENDANT MICHAEL
                     Defendant.        )    J. MISKE, JR’S. MOTION TO
                                       )    CONTINUE TRIAL DATE FILED
                                       )    OCTOBER 18, 2021 and
                                       )    CERTIFICATE OF SERVICE
                                       )
                                       )

                DEFENDANT JARRIN YOUNG’S OBJECTION TO
                  DEFENDANT MICHAEL J. MISKE, JR’S.
        MOTION TO CONTINUE TRIAL DATE FILED OCTOBER 18, 2021

      NOW COMES Defendant Jarrin Young, by his counsel
 undersigned, to object to Defendant Michael J. Miske Jr’s. Motion
 to Continue Trial Date, filed October 18, 2021, and asserts his
 right to a speedy trial in this case.
      DATED:    Honolulu, Hawaii, October 26, 2021.


                                           BY: /s/Dana S. Ishibashi
                                                DANA S. ISHIBASHI

                                           ATTORNEY FOR DEFENDANT
                                           Jarrin Young
Case 1:19-cr-00099-DKW-KJM Document 395 Filed 10/26/21 Page 2 of 2   PageID #:
                                  2752


          IN THE DISTRICT COURT FOR THE DISTRICT OF HAWAII




    UNITED STATES OF AMERICA,          )    CR. NO. 19-00099 DKW-KJM
                                       )
                     Plaintiff,        )
          VS.                          )
                                       )
    JARRIN YOUNG, (11)                 )    CERTIFICATE OF SERVICE
                                       )
                     Defendant.        )
                                       )
                                       )
                                       )
                                       )
                                       )

                         CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the
 attached was duly served upon the following parties as set forth
 below:

      Served Electronically through CM/ECF

 MICHAEL NAMMAR              at    Michael.Nammar@usdoj.gov

 MICAH SMITH                 at    Micah.Smith@usdoj.gov

 MARK A. INCIONG             at    Mark.Inciong@usdoj.gov

      Assistant U.S. Attorneys
      United States of America

      DATED: Honolulu, Hawai’i, October 26, 2021.


                                               /s/Dana S. Ishibashi
                                           By: Dana S. Ishibashi
                                           Attorney for Defendant (11)
                                           Jarrin Young
